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                                                                    United States District Court
                                                                       Southern District of Texas

                                                                          ENTERED
                    IN THE UNITED STATES DISTRICT COURT                September 17, 2021
                    FOR THE SOUTHERN DISTRICT OF TEXAS                 Nathan Ochsner, Clerk
                             HOUSTON DIVISION



SHAWN LEE WILLIAMS,                     §
TDCJ #779559,                           §
                                        §
                    Plaintiff,          §
                                        §
v.                                      §       CIVIL ACTION NO. H-20-0853
                                        §
SERGEANT GREGORY CARTER,                §
                                        §
                    Defendant.          §




                         MEMORANDUM OPINION AND ORDER



       State inmate Shawn Lee Williams (TDCJ #779559) has filed a

Prisoner's       Civil   Rights   Complaint    under    42    U.S.C.     §     1983

. ("Complaint") (Docket Entry No. 1), alleging that "Sergeant Carter"

used excessive force after Williams was found in possession of a

cellular telephone while confined in the Texas Department of

Criminal Justice - Correctional Institutions Division ("TDCJ").                    At

the    court's    request    Williams   has   submitted      Plaintiff's       More

Definite Statement ("Plaintiff's MDS") (Docket Entry No. 7), which

provides additional details about his claim.                   The defendant,

Sergeant Gregory Carter, has filed Defendant['s] Motion for Summary

Judgment ("Defendant's MSJ") (Docket Entry No. 28) .             Williams has

replied      with    Plaintiff's     Motion     for    Summary     Judg[] ment

("Plaintiff's MSJ") (Docket Entry No. 3 7), and Sergeant Carter has

filed Defendant's Response to Plaintiff's Motion for                     Summary
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Judgment ("Defendant's Response") (Docket Entry No. 38).                Williams

has filed several other motions,              including three Motions for
Appointment of Counsel (Docket Entry Nos. 32, 36,_ 39), a Motion for
Jury Demand (Docket Entry No. 40), and a Motion to Produce Complete
Video Record under Rule 34 of the Federal Rules of Civil Procedure
(Docket Entry No. 42).         After considering all of the pleadings,
exhibits,      and   the   applicable    law,    the   court   denies    all   of
Williams's motions and grants Defendant's MSJ for the reasons set
forth below.


                               I.   Background

     Williams has been incarcerated in TDCJ since 1997, following

his conviction for capital murder. 1            On the evening of January 8,
2019, Sergeant Carter and another correctional officer (Officer
Victoria Price) entered Williams's cell at the Estelle Unit. 2
According to Williams, Sergeant Carter turned on the lights and
ordered him to submit to a·strip search when Carter "became aware
of [a] cell phone" in Williams's cell. 3 Williams acknowledges that
he "ignored" Sergeant Carter's order to surrender the cell phone. 4



     1
      Plaintiff's MDS, Docket Entry No. 7, pp. 1, 6. For purposes
of identification, all page numbers refer to the pagination
imprinted by the court's electronic filing system, CM/ECF.
     2
      Complaint, Docket Entry No. 1, p. 4; Plaintiff's MDS, Docket
Entry No. 7, p. 1.
     3
         Id.
     4
         Complaint, Docket Entry No. 1, p. 4.
                                        -2-
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Williams explains that he disregarded the order because he was told

by the inmate who gave it to him to "master clean" or erase data
from the phone if he were ever caught with it. 5
      At some point after Williams's initial refusal to comply
Sergeant Carter issued a call for assistance from other officers,
and it further appears that he requested a video camera to document
the confrontation. 6    While Williams was in the act of erasing data
from the phone, Sergeant Carter gave a second order to turn it

over. 7     Williams said "OK," but he did not comply because he was
"still trying to set the clean on the phone. " 8            At this time,

Officer Price also instructed Williams to surrender the phone,
saying "just give it to him. " 9       When Williams did not promptly

comply, he claims that Sergeant Carter reacted by pinning him to
the wall and striking him repeatedly in the right eye, giving him
"7 or 8 licks," before spraying him "directly in the eyes" with a
chemical agent. 10    Williams then fled from his cell onto the run,


      Plaintiff's MDS, Docket Entry No. 7, p. 1. Williams explains
      5

further that he was "holding" the phone as a means of paying off a
"debt" that he owed another prisoner. Id. at 2. Williams states
that he is now "further in debt" because he was caught with the
phone. Id.
      Complaint, Docket Entry No. 1, p. 4; Plaintiff's MDS, Docket
      6

Entry No. 7, p. 2.
      7
          Plaintiff's MDS, Docket Entry No. 7, p 1.
      8
          Id.
      9
          Id.


                                    -3-
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where he was subdued by other officers who responded to Sergeant

Carter's earlier call for assistance.11
     Sergeant Carter explains that possessing a cell phone in a
correctional facility      strictly prohibited because it is a threat
to security and a felony offense under Texas law.12             During the
administrative investigation of the use           force, Sergeant Carter
stated that he entered Williams's cell to conduct a strip search
because   there   was   suspicion    that   Williams   had   contraband. 13
Sergeant Carter called for additional staff after Williams refused
to submit to a strip search. 14           While waiting for additional
officers to respond, Sergeant Carter observed that Williams had a
"black cellular device. 1115   When Sergeant Carter reached                the
item, Williams "became aggressive," clenching his fist and making




     11Complaint, Docket Entry No. 1, p. 4; Plaintiff's MDS, Docket
Entry No. 7, p. 2.
      Defendant' s MSJ, Docket Entry No. 28, pp. 2, 9. It is a
     12

third-degree felony offense under Texas law to possess "a cellular
telephone or other wire ss communications device or a component of
one of those devices" while confined      a correctional facility.
See Tex. Penal Code § 38.ll(j); see      18 U.S.C. § 179l(d) (1) (F)
(making    unlawful to possess contraband, including a "phone or
other device used by a user of commerc      mobile service," while
imprisoned in a federal correctional institution or detention
facility).
     13
       TDCJ Use of Force Report No. M-00214 01-19 ( "Use of Force
Report"), Exhibit C to Defendant's MSJ, Docket Entry No. 28-3,
p. 12.




                                    -4-
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a motion towards him. 16       Officer Price also observed Williams become

aggressive when Sergeant Carter reached for the cell phone and saw

Williams "motion his fist" towards Carter. 17            Sergeant Carter "then

used one closed fist"           to   strike •williams in the        "mid    facial

region." 18

     According to Sergeant Carter and Officer Price,                      Williams

continued to behave aggressively and resist their efforts to

recover . the phone . 19       Sergeant Carter gave Williams additional

orders to stop resisting or chemical agents would be dispersed. 20

After     Williams      disobeyed     these       warnings,    Sergeant     Carter

administered 3. 5 ounces of chemical agent.21 Officer Price, who had

"initiated the Incident Command System 1' to alert other officers of

the altercation,        secured Williams' s legs and placed him on the

floor     as   he   continued   to   resist. 22      Several   other   officers,

including Sergeant Solomon Odoi, Sergeant Justine Ateka, Officer

David Oladimeji, and Officer Simone Powell, responded to the call

for help and observed Williams, who had hidden the cell phone in




               at 21.

               at 12.

               at 12, 21.

               at 12.

               at 12, 21 22.
     22
               at 22.

                                       -5-
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his pants, actively res      ting Sergeant Carter and Officer Price. 23
After the officers secured Williams with hand and leg restraints,
the cell phone fell to the ground and was recovered by Officer
Price. 24    Williams was placed on a gurney and taken to restricted
housing on A-wing, where his restraints were removed. 25            A nurse
examined Williams and noted "no injuries. 1126
        Medical records show that Williams was           escorted to the

infirmary on January 9, 2019, which was the morning after the use
of force occurred. 27     Williams 1 s right eye had "periorbital edema
and ecchymosis, with a solid scleral redness. 1128       Williams reported

seeing a "blurry haze over the eye," and a "sharp throbbing pain, 11
rated a six on a scale of zero to ten. 29       Williams also complained
of pain in his right shoulder. 30 A physician authorized Wi           iams' s

trans        to an outside hospital on a non-emergency basis to


          at 15, 17, 24, 26 (Statements of Sergeant Solomon Odoi,
Sergeant Justine Ateka, Officer David Oladimeji, and Officer Simone
Powell) .
             at 12-13, 22.
             at 15, 17, 27, 29.
             at 27, 29.
       Correctional Managed Health Care ( "CMHC'1) Urgent/Emergent
        27
Care Record, Exhibit B to Defendant's MSJ, Docket Entry No. 28-2,
p. 35.
      28


      29




                                    -6-
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evaluate the trauma to his eye and his complaints of shoulder

pain. 31
      Williams was evaluated at CHI St.          Joseph Health Regional
Hospital in Bryan       ("St. Joseph's Hospital) ,32 where he reported
"being hit to the right eye witb,a fist" and injury to his right
shoulder. 33     A CT scan of Williams's head and maxillofacial area
disclosed "right infraorbital superficial soft tissue swelling"
attributed to a "traumatic soft tissue contusion," but no fracture
to the eye socket and no          "intracranial hemorrhage"        or brain
injury. 34     A radiograph of Williams's right shoulder disclosed no

fracture or dislocation. 35        The treating physician discharged

Williams to return to the Estelle Unit the same day with a
diagnosis of a "right periorbital hematoma," otherwise known as a
black eye, and "subconjunctival hemorrhage,"             which refers to
"broken blood vessels in the white portion of the eye. " 36        Williams
was treated with an over-the-counter pain medication (Tylenol) and


      31
           Id. at 34, 36.
      St.
      32
            Joseph's Hospital Admission/Registration      Record,
Exhibit B to Defendant's MSJ, Docket Entry No. 28-2, p. 99.
      St. Joseph's Hospital Emergency Record,
      33
                                                            Exhibit    B    to
Defendant's MSJ, Docket Entry No. 28-2, p. 109.
      CAT Scan Reports, Exhibit B to Defendant's MSJ, Docket Entry
      34

No. 28-2, pp. 100--02.
      Imaging Services Report, Exhibit B to Defendant's MSJ, Docket
      35

Entry No. 28-2, p. 104.
      St. Joseph's Hospital Emergency Record, Exhibit B to
      36

Defendant's MSJ, Docket Entry No. 28-2, pp. 109, 110, 113, 115.
                                    -7-
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eye drops (proparacaine) . 37. The physician recommended that Williams

follow-up with his primary care provider and an ophthalmologist. 38
     During a follow-up appointment at the Estelle Unit               irmary
on January 14, 2019, a physician noted that Williams had "residual"
swelling of the periorbital area and ''diffuse" subconjunctival
redness in his right eye with visual acuity of 20/200. 39            Because
Williams reported having diminished vision, the physician referred
Williams to a specialist at the John Sealy Hospital in Galveston to

rule out a detached retina. 40
     That same day Williams filed a Step 1 Grievance, alleging that
Sergeant Carter hit him in his right eye "twice" before striking
him three more times during the altercation that occurred on
January   8,   2019. 41    During    an   interview    with   a   grievance
investigator on January 16, 2019, Williams claimed that he could
not see out of his right eye due to the swelling around it, but the
officer who conducted the interview observed that there was "no
swelling present" at that time. 42


           at 107, 111.
     38
           at 107, 110, 112.
      CMHC Clinic Notes, Exhibit B to Defendant's MSJ, Docket Entry
     39

No. 28-2, pp. 47-48; CMHC Visual Acuity Test, ·Exhibit B to
Defendant's MSJ, Docket Entry No. 28-2, pp. 88-89.
     4
      °CMHC Clinic Notes, Exhibit B to Defendant's MSJ, Docket Entry
No. 28-2, p. 48.
     41 Step 1 Grievance #2019064664, Exhibit A to Defendant's MSJ,
Docket Entry No. 28 1, p. s.
      Inter-Office Communications,
     42
                                      dated January 16,                2019,
Exhibit A to Defendant's MSJ, Docket Entry No 28-1, p. 13.
                                    -8-
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       On    January       25,     2019,     Williams      was    evaluated    by    an

ophthalmologist at the John Sealy Hospital. 43                    Williams reported
having      \'fuzzy" vision and "constant right eye pain                  (4 5/10 in
severity)" because he was "hit 7 times by a fist in his right
eye. " 44   The specialist eva·luated Williams for signs of eye trauma
and a detached retina with "possible blood 'behind the eye.'" 45 The

specialist observed that Williams had a "resolving subconjunctival
hemorrhage" with 20/60 vision in his right eye., but found "no
apparent organic cause for decreased vision [.] " 46                  The specialist
concluded     that       '\no    acute     ophthalmological       intervention"     was
warranted and recommended a follow-up appointment for another

visual acuity check in                   "General Ophthalmology clinic" in four

to six weeks. 47
       Williams had a follow-up appointment                      at the John Sealy
Hospital     on    February       28,      2019,   where    the   specialist      noted
improvement with 20/40 vision in the right eye. 48                    The specialist
recommended following up with the "general clinic" in four months,


      CMHC Return from Medical Appointment,
       43
                                                   Exhibit                      B   to
Defendant's MSJ, Docket Entry No. 28-2, pp. 80-82.
              at   81.




              at 82.
      CMHC Return from Medical Appointment,
       48
                                                                     Exhibit    B   to
Defendant's MSJ, Docket Entry No. 28-2, p. 75.
                                             -9-
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but he did not prescribe any treatment.49               Williams does not
indicate that he required further treatment for the black eye that
he sustained on January 8, 2019, 50 and the available medical records
do not reflect that he requested any. 51
      As a result of the incident that occurred on January 8, 2019,
Williams was charged with violating prison disciplinary rules by
committing     a   felony,   namely    possessing   a   cell   phone   while
incarcerated in a correctional facility in violation of§ 38.11 of
the Texas Penal Code. 52     Williams was found guilty of the offense

following a disciplinary hearing. 53         As punishment, Williams was
restricted to his cell without commissary and other privileges for
30 days. 54   He was also reduced in classification status from 83 to




      Plaintiff' s MDS, Docket Entry No. 7, p. 3, response to
      50

question 10 (indicating that his sight returned and he did not
require any further treatment beyond the initial consultation and
follow-up visit with the specialist at the John Sealy Hospital in
Galveston)
        fidavi t of Records Custodian Lisa Lopez, Exhibit B to
Defendant's MSJ, Docket Entry No. 28-2, p. 2 (providing medical
records for the plaintiff for the time period of January 1, 2019,
through June 30, 2019).
      TDCJ Offense Report - Case No. 20190113490, Exhibit E to
      52

Defendant's MSJ, Docket Entry No. 28-5, p. 4.
      TDCJ Disciplinary Report and Hearing Record
      53
                                                       Case
No. 20190113490, Exhibit E to Defendant's MSJ, Docket Entry
No. 28-5, p. 3.


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Ll,    and he forfeitec:l. 180. days of previously earned good-time

credit.55.
        Invoking 42 U.S.C. § 1983, Williams sues Sergeant Carter for
using excessive force by striking him in the eye on January 8,
2019. 56      Williams seeks compensatory damages for the violation of
his rights under the Eighth Amendment. 57            Sergeant Carter moves for
summary judgment,        arguing that he is entitled to official and

qualified immunity from Williams's claims. 58              Williams moves for
summary judgment on his own behalf, arguing that Sergeant Carter

violated his clearly established constitutional rights by failing
to follow prison procedures governing the use of force, and he has
filed a written demand for a jury trial. 59               Williams has filed
several other motions,               requesting   appointment of counsel and


       55


       56
            Complaint, Docket Entry No. 1, p. 4.
       Id. Williams alleges further that the officers who subdued
       57

him on January 8, 2019, committed a violation of the Prison Rape
Elimination Act ("PREA11  42 U.S. C. § 15601 et seq., because he was
                             )   ,

"stripped of his boxers for all to witness" during the altercation.
Plaintiff's MSJ, Docket Entry No. 37, p. 7. His allegations do not
demonstrate that a violation occurred, and PREA does not otherwise
afford a private cause of action for prisoners.            Krieg v.
Steele, 599 F. App'x 231, 232 (5th Cir. 2015) ("[C]ourts addressing
this issue have found that the PREA does not establish a private
cause of action for allegations of prison rape. 11) (collecting
cases).
       58
            Defendant's MSJ, Docket Entry No. 28, pp. 3-14.
      Plaintiff's MSJ, Docket Entry No. 37; Motion for a Jury
       59

Demand, Docket Entry No. 40 {invoking Rule 38 of the Federal Rules
of Civil Procedure and the right to a jury trial guaranteed by the
Seventh Amendment).
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discovery.60      The parties' motions are examined below under the

governing standards of review.


                 II.   Motions for Appointment of Counsel

     Williams has filed three motions for appointment of counsel,
asserting that he is indigent and that he has been unsuccessful in
his efforts to find a lawyer to take his case.61              There is no
automatic constitutional right to appointment of counsel in civil

rights cases.      See Baranowski v. Hart, 486 F.3d 112, 126 (5th Cir.
2007); Ulmer v. Chancellor, 691 F.2d 209, 212 (5th Cir. 1982}.              A
court is not required to locate counsel for an indigent litigant
unless a case presents exceptional circumstances.           See Naranjo v.
Thompson,     809 F.3d 793,   803   (5th Cir.   2015).     In making that
determination, the court considers the case's type and complexity,

the litigant's ability to investigate and present his case, and the
level of skill required to present the evidence.               Baranowski,
486 F.3d at 126; see also Naranjo, 809 F.3d at 799 (listing several
other factors).
     This case, which involves a claim of excessive force against
one defendant, is not factually or legally complex.          It is further
evident that Williams's claim depends on events for which he was


     60
          Motion to Produce Complete Video Record, Docket Entry No. 42.
      Motion for Appointment of Counsel, Docket Entry No. 32,
     61

pp. 1-2; Motion for the Appointment of Counsel, Docket Entry
No. 36, pp. 1-2; Motion for the Appointment of Counsel, Docket
Entry No. 39.
                                    12-
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present and about which he has personal knowledge.             There is no

indication in the record that he has been unable to investigate and
present his best case.         The defendant has provided Williams with
discovery and supplemental disclosures under Rule 26(a)(1) of the
Federal Rules of Civil Procedure. 62        In addition, Williams has been
provided with exhibits attached to Defendant's MSJ,               including
grievance records, medical records, the TDCJ Use of Force Report,
Emergency Action Center records, and disciplinary records related
to the incident outlined in his Complaint. 63
     The record reflects that Williams has done a capable job
representing himself thus far with the information and resources
that are available to him.        Williams provided a detailed response
to the court's Order for More Definite Statement. 64           He has also
filed several motions on his own behalf, including a motion for
summary judgment that applies the relevant law, indicating that he
has a basic understanding of the legal issues and procedure. 65             His
submissions     are   neatly    printed    and   articulate.    Other   than

requesting help       with   presenting    evidence   and   cross-examining


      Defendant Carter's Notice of First Supplemental Disclosure,
     62

Docket Entry No. 25; Defendant Carter's Notice of Second
Supplemental Disclosure, Docket Entry No. 26.
        fendant's MSJ, Docket Entry No. 28, pp. 1, 15 (certificate
of service reflecting that the motion and Exhibits.A-E were sent to
Williams on April 19, 2021).
     64
          Plaintiff's MDS, Docket Entry No. 7.
     65
          Plaintiff's MSJ, Docket Entry No. 37, pp. 6-8.
                                    -13-
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witnesses at a potent          trial, Williams does not identify any
other task that requires the assistance              counsel at this time.
Although Williams notes that he has limited access to the library
and limited knowledge of the law, this is true of every pro se
prisoner and does not, standing alone, constitute an exceptional
circumstance.   Under these circumstances, Williams's requests for
appointment of counsel will be denied.


                      III.   Motion for Discovery

     Williams has filed a Motion to Produce Complete Video Record
under Rule 34 of the Federal Rules of Civil Procedure seeking
discovery of the following:         (1) video from "wing Bl Estelle Unit
main [btlilding] dated [January 8, 2019] ;"          (2) the "use of force
video" for January 8, 2019; (3)            "videos from   [the TDCJ Use of
Force] Report #M-00214-01-19;" and (4)          "any and all appropriate
reports to incident. " 66 There is no certificate of service attached
to this Motion, and there is no indication that Williams served
defendant's   counsel   with    a    request   for   discovery,   which     is
typically stayed until       ter qualified immunity has been decided.
See Backe v. LeBlanc, 691 F.3d 645, 648-49 (5th Cir. 2012) (finding
that the district court abused its discretion by allowing discovery
before ruling on the defense of qualified immunity) .               Because
Williams alleges that this evidence will raise "genuine issues of


      Motion to Produce Complete Video Record, Docket Entry No. 42,
     66

pp. 1 2.
                                    -14-
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material facts,,, 67 the court construes this request as a motion for

a continuance . to conduct discovery under Rule 56 (d) (2) of the
Federal Rules of Civil Procedure.
     Motions to suspend summary judgment for discovery purposes are
"broadly    favored    and    should     be   liberally    granted"    because
Rule 56 (d) (2),    formerly codified as Rule 56 (f),         is designed to
"safeguard non-moving parties from summary judgment motions that

they cannot adequately oppose."         Culwell v. City of Fort Worth, 468

F.3d 868,    871     (5th   Cir. 2006).       Nevertheless,     to    obtain a

continuance the movant must demonstrate to the court "spec              ically
how the requested discovery pertains to the pending motion,                   11




Wichita Falls Office Associates v. Banc One Corp.,             978 F.2d 915,
919 (5th Cir. 1992),        by explaining "how the additional discovery
will create a genuine issue of material fact."             Krim v. BancTexas
Group,   Inc.,     989 F.2d 1435,      1442   (5th Cir. 1993).         A party

requesting such a continuance            "may not simply rely on vague
assertions that additional discovery will produce needed,                   but
unspecified facts.,,            (internal quotation marks and citation
omitted).    The party seeking additional time must "set forth a
plausible basis for believing that spec          ied facts, susceptible of
collection within a reasonable time frame,                probably exist and
indicate how the emergent facts,          if adduced,     will influence the
outcome of the pending summary judgment motion."             American Family


            at 1.
                                       -15-
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Life Assurance Co. of Columbus v. Biles, 714 F.3d 887, 894 {5th

Cir. 2013) {per curiam) {internal quotation marks and citations
omitted).
     The record reflects that the defendant has already provided
Williams with a copy of the Use of Force Report for the incident
that occurred on January 8, 2019, as well as medical records,
grievances,    and   reports     associated    with    the    disciplinary
proceedings against him, which are attached as Exhibits A through
E to Defendant's MSJ.        Williams does not indicate what other
records might be available or what they might show.
     The record further reflects that the use of force by Sergeant
Carter was not captured on video.         According to the officers who
responded to Sergeant Carter and Officer Price's calls for help,
they were unable to begin recording the incident because Williams

was actively resisting when they arrived.68        Williams acknowledges
in his pleadings that his altercation with Sergeant Carter occurred
in his cell where no cameras were present and that other officers
did not arrive until after he fled from his cell onto the run,

where he was promptly subdued. 69      There is no video in the record
and the Use of Force Report states that the video camera, which did
not begin recording until after Williams was placed in restraints,


      Use of Force Report, Exhibit C to Defendant's MSJ, Docket
     68

Entry No. 28 3, pp. 26-27, 29 (Statements of Officer Symone Powell
and Sergeant Anthony Williams).
      Complaint, Docket Entry No. 1, p. 4; Plaintiff's MDS, Docket
     69

Entry No. 7, p. 1.
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malfunctioned. 70    .   Williams does not show that video of the use of

force by Sergeant Carter is available.                 To the extent that there
was    any   other       video   footage   of   what       transpired    outside   of

Williams' s cell after the use of force by Sergeant Carter had
already occurred, Williams does not allege specific                         s about
what that video would have shown or how this evidence would raise
a genuine .issue of material fact in connection with his claim

against Sergeant Carter.            Accordingly, Williams's motion for a
continuance to conduct discovery will be denied.


                     IV.     Motions for Summary Judgment

       Motions for summary judgment are governed by Rule 56 of the

Federal Rules of Civil Procedure.               Under this rule a reviewing
court "shall grant summary judgment if the movant shows that there
is no genuine dispute as to any material fact and the movant is
entitled to judgment as a matter of law.'              1
                                                            Fed. R. Civ. P. 56(a)

(2021); see also Celotex Corp. v. Catrett, 106 S. Ct. 2548, 2552
(1986).      A fact is "material" if its resolution in favor of one
party might affect the outcome of the suit under governing law.
Anderson v. Liberty Lobby, Inc. , 106 S. Ct. 2505, 2510 (1986).                    An
issue is "genuine" if the evidence is sufficient for a reasonable
jury to return a verdict for the nonmoving party.                  Id.
       In deciding a summary judgment motion, the reviewing court
must view all facts and inferences in the light most favorable to


      Use of Force Report, Exhibit C to Defendant's MSJ, Docket
       70

Entry No. 28-3, p. 29 (Statement of Sergeant Anthony Williams).
                                       -17-
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the non-movant and resolve all factual disputes in his favor.                See

Shah v. VHS San Antonio Partners, L.L.C., 985 F.3d 450, 453 (5th

Cir. 2021).    If the movant demonstrates an "absence of evidentiary
support in the record for the nonmovant's case," the burden shifts
to the nonmovant to "come forward with specific facts showing that

there is a genuine issue for trial."                Sanchez v. Young County,

Texas, 866 F.3d 274, 279 (5th Cir. 2017) (citing Cuadra v. Houston
Indep.    Sch. Dist.,     626 F.3d 808,       812    (5th Cir. 2010)).       The
non-movant    cannot     avoid   summary     judgment    by   resting   on   his
pleadings or presenting "[c]onclusional allegations and denials,
speculation, improbable inferences, unsubstantiated assertions, and
legalistic argumentation."          Jones v. Lowndes County, Mississippi,
678 F.3d 344, 348 (5th Cir. 2012) (citation and internal quotation

marks omitted); see also Little v. Liquid Air Corp., 37 F.3d 1069,
1075 (5th Cir. 1994) (en bane) (a non-movant cannot demonstrate a
genuine    issue    of   material    fact    with   conclusory   allegations,
unsubstantiated assertions, or only a scintilla of evidence).
     The plaintiff represents himself in this case.                Courts are
required    to give      a pro se     litigant's contentions a          liberal
construction. See Erickson v. Pardus, 127 S. Ct. 2197, 2200 (2007)
(per curiam)       (citation omitted) ; see             Haines v. Kerner, 92
S. Ct. 594, 595-96 (1972) (per curiam) (noting that allegations in
a pro se complaint, however inartfully pleaded, are held to less
stringent standards than formal pleadings drafted by lawyers).


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      Although the plaintiff represents himself, a pro se litigant

is not excused from meeting his burden of proof of specifically
referring to evidence in the summary judgment record and setting
forth facts showing that there is a genuine issue of material fact
remaining for trial.            Outley v. Luke     &   Associates, Inc., 840
F.3d 212, 217 (5th Cir. 2016); see== Bookman v. Shubzda, 945

F. Supp. 999, 1004 (N.D. Tex. 1996) (citing Forsyth v. Barr, 19
F.3d 1527, 1537 (5th Cir. 1994) (citation omitted)). The court has
no obligation under Rule 56 "to sift through the record in search

of evidence to support a party's opposition to summary judgment."
Adams v. Travelers Indemnity Co. of Connecticut, 465 F.3d 156, 164
(5th Cir. 2006) (quotation omitted).


                               V.    Discussion

A.    Eleventh Amendment Immunity

      Sergeant Carter contends that he is entitled to immunity under
the Eleventh Amendment from Williams's claim against him in his
official capacity as an employee of TDCJ, which is an agency of the
State of Texas. 71     See. Tex. Gov't Code § 493.001 et�              Unless
expressly waived, the Eleventh Amendment bars an action in federal
court by a citizen of a state against his or her own state,
including a state agency.           See Will v. Michigan Dep' t of State
Police, 109 8. Ct. 2304, 2309 (1989).         The Eleventh Amendment also



      71   Defendant's MSJ, Docket Entry No. 28, p. 5.
                                      -19-
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 pars a federal action for monetary damages against state officials

 when the state itself        the real party in interest. See Pennhurst
 State School & Hospital v. Halderman,           104 S.     Ct. 900,   908-09
 (1984).    A suit against a state official in his or her official
 capacity is considered a suit against the state itself.                Will,
 109 S. Ct. at 2312 ("[A] suit against a state official in his or
 her official capacity is not a suit against the offic              but rather

is a suit against the official's office.               As such,     it is no
different from     a   suit    against   the   state   it     f."    (internal
citations omitted)).
      Texas has not waived its Eleventh Amendment immunity and

Congress did not abrogate that immunity when it enacted 42 U.S.C.
§ 1983.         NiGen Biotech, L.L.C. v. Paxton, 804 F.3d 389, 394
 (5th Cir. 2015)    (citing Quern v. Jordan,         99 S. Ct. 1139,     1145
 (1979)).    Because TDCJ         a state agency,      Sergeant Carter is

entitled to immunity from any claim for monetary damages against
him in his official capacity as a TDCJ employee. See Loya v. Texas
Dep't of Corrections,       878 F.2d 860,      861   (5th Cir. 1989)      (per
curiam) ("[TDCJ]'s entitlement to immunity under the [E]leventh
 [A]mendment is clearly established in this circuit."); Oliver v.
Scott, 276 F.3d 736, 742 (5th Cir. 2001) (" [T]he Eleventh Amendment
bars recovering§ 1983 money damages from TDCJ officers in their
official capacity.").         As a result,     Williams's claim against
Sergeant Carter in his official capacity will be dismissed.


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B.     Qualified Immunity

       Sergeant Carter has also asserted qualified immunity from

liability for Williams' s claim of excessive force,                      which seeks
monetary          damages    from   Carter   in     his   individual    or   personal
capacity.72 "The doctrine of qualified immunity protects government
officials          'from liability for civil damages insofar as their
conduct       does     not     violate    clearly     established      statutory   or
constitutional rights of which a reasonable person would have

known.'"          Pearson v. Callahan, 129 S. Ct. 808, 815 (2009) (quoting
Harlow v. Fitzgerald, 102 S. Ct. 2727, 2738 (1982)).                     "' [W]hether
an official protected by qualified immunity may be held personally
liable for an allegedly unlawful official action generally turns on

the 'objective legal reasonableness' of the action, assessed in
light of the legal rules that were 'clearly established' at the
time it was taken.'"            Messerschmidt v. Millender, 132 S. Ct. 1235,

1245 (2012) (quoting Anderson v. Creighton, 107 S. Ct. 3034, 3038
{1987) (citation omitted)).
       "[A] good-faith assertion of qualified immunity alters the
usual summary judgment burden of proof,                      shifting it to the
plaintiff to show that the defense is not available."                     Ratliff v.
Aransas County. Texas, 948 F.3d 281, 287 (5th Cir. 2020) (internal
quotation marks and citation omitted).                    "The plaintiff must show
that        {1)     'the     officer     violated     a    federal     statutory   or


       72   Defendant's MSJ, Docket Entry No. 28, pp. 5-14.
                                           -21-
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constitutional.right' and (2) 'the unlawfulness of the conduct was

clearly established at the time.'"            McCoy v. Alamu, 950 F.3d 226,

230 (5th Cir. 2020) (quoting Rich v. Palko, 920 F.3d 288, 294 (5th
Cir.), cert. denied, 140 S. Ct. 388 (2019)).              A plaintiff seeking
to meet this burden at the summary-judgment stage "may not rest on
mere allegations or unsubstantiated assertions but must point to
specific evidence in the record demonstrating a material fact issue
concerning each element of his claim."           Mitchell v. Mills, 895 F.3d
365, 370 (5th Cir. 2018) (citations omitted).               Williams does not
meet his burden to overcome qualified immunity in this instance
because, as discussed below, he does not establish that Sergeant
Carter      violated    his   constitutional     rights    under   the   Eighth
Amendment standard that governs claims of excessive force.


c. ·    Eighth Amendment Claims of Excessive Force

        Williams's claim that excessive force was used against him is
governed by the Eighth Amendment, which prohibits cruel and unusual
punishment, i.e., the "unnecessary and wanton infliction of pain."
Wilson v. Seiter, 111 S. Ct. 2321, 2323 (1991) (quoting Estelle v.
Gamble, 97 S. Ct. 285, 291 (1976)).             It is well established that
"the use of · excessive physical force against a prisoner may
constitute cruel and unusual punishment [even] when the inmate does
not suffer serious injury."           Wilkins v. Gaddy, 13 0 S. Ct. 1174,
1176 (2010) (per curiam) (quoting Hudson v. McMillian, 112 S. Ct.
995, 997 (1992)).        However, not every malevolent touch by a prison

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guard gives rise to a constitutional violation under the Eighth

Amendment.            Hudson,   112 S. ·ct.   at 1000    (citing Johnson v.

Glick,    481 F.2d 1028,      1033   (2d Cir. 1973)     ("Not every push or

shove, even if it may later seem unnecessary in the peace of a

judge's chambers, violates a prisoner's constitutional rights.")).

Because officers may be required to use force when confronted with

a prison disturbance, courts are required to afford "wide-ranging

deference" to the execution of "policies and practices that in

their judgment are needed to preserve internal order and discipline

and to maintain institutional security."                   at 999      (internal

quotation marks and citations omitted).            When excessive force

alleged in this context,          "the core judicial inquiry is

whether force was applied in a good-faith effort to maintain or

restore discipline, or maliciously and sadistically to cause harm."

Id.

       Whether force used in the correctional setting is excessive

under the Eighth Amendment standard depends on "the detention

facility official's subjective intent to punish." Cowart v. Erwin,

837 F.3d 444, 452 (5th Cir. 2016) (quoting Valencia v. Wiggins, 981

F.2d 1440, 1449 (5th Cir 1993)).         Intent is evaluated by reference

to the following factors outlined by the Supreme Court in Hudson

(the "Hudson factors") :         (1) the extent of the injury suffered,

(2) the need for the application of force,             (3) the relationship

between the need and the amount of force used,                ( 4) the threat

reasonably perceived by the responsible officials,               and    (5) any

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efforts made to temper the severity of a forceful response.                 See

Hudson, 112 S. Ct. at 999; see also Perez v. Collier, - F. App'x -,
2021 WL 4095263, at *2 (5th Cir. Sept. 8, 2021) (listing the "well­
known Hudson factors") (citation omitted).          When conducting this
fact-intensive inquiry, the evidence is viewed in the light most
favorable to the plaintiff.      See McCoy, 950 F.3d at 230.

     1.    Extent of the Injury Suffered
     The extent of injury suffered by an inmate "may suggest
'whether the use of force could plausibly have been thought
necessary' in a particular situation,         'or instead evinced such
wantonness with respect to the unjustified infliction of harm as is

tantamount to a knowing willingness that it occur."            Hudson, 112
S. Ct. at 999 (quoting Whitley v. Albers, 106 S .. Ct. 1078, 1085
(1986)). The extent of injury may also provide "some indication of
the amount of force applied."      Wilkins, 130 S. Ct. at 1178.
     It is undisputed that Williams suffered an injury to his right
eye as a result of the use of force by Sergeant Carter, who admits
punching Williams once in the face with a closed fist.         The medical
records, which are summarized above,         reflect that Williams was
evaluated at St. Joseph's Hospital the day after the use of force
occurred, where a CT scan and other tests ruled out anything more
serious than a swol     , black eye, with redness and some diminished
vision.   Williams was discharged and returned to the Estelle Unit
the same day after receiving some eye drops and over-the-counter

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pain medication.        Two weeks after the altercation with Sergeant

Carter, Williams's complaints of diminished vision were evaluated
by a specialist in ophthalmology at the John Sealy Hospital, who
determined that no acute intervention or treatment was needed.               The
physician noted that Williams's vision had improved at a subsequent

follow-up visit one month later.               Williams's injury and the
attendant loss of vision were temporary, and there is no evidence
showing that he requested or received any further treatment for his
right eye.

       Williams has alleged that Sergeant Carter pinned him to the
wall of his cell and struck him 7 or 8 times in the right eye with
a closed fist before spraying chemical agent directly in his eyes. 73
However, this account is not supported by the medical records from
St.    Joseph's Hospital, 74 and his subsequent evaluation by the
ophthalmologist at the John Sealy Hospital, 75 which show that his
injury was limited to a black eye and temporar�ly blurred vision
that did not require treatment beyond eye drops.            Although a court
must draw inferences in favor of the non-movant, particularly when
qualified immunity has been asserted, see Tolan v. Cotton,                     134
s. Ct. 1861, 1866 (2014), "if record evidence clearly contradicts

       73
            Plaintiff's MDS, Docket Entry No. 7, p. 1.
      CAT Scan Reports, Exhibit B to Defendant's MSJ, Docket Entry
       74

No. 28-2, pp. 100-01; St. Joseph's Hospital Emergency Record,
Exhibit B to Defendant's MSJ, Docket Entry No. 28-2, pp. 107-13,
115.
      CMHC Return from Medical Appointment, Exhibit
       75
                                                                         B      to
Defendant's MSJ, Docket Entry No. 28-2, pp. 80-82.
                                      -25 -
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the plaintiff's allegations, a court 'should not adopt that version

of the facts for purposes of ruling on a motion for summary
judgment."'       Waddleton v. Rodriguez, 750 F. App'x 248, 253-54 (5th
Cir. 2018) (per curiam) (quoting Scott v. Harris, 127 S. Ct. 1769,

1776    (2007)).      Viewing the medical records in the light most
favorable to Williams, the extent of the injury that he sustained
does not support his contention that Sergeant Carter used excessive
force of a sort that is "repugnant to the conscience of mankind" or
in violation of the Eighth Amendment.              Hudson, 112 S. Ct. at
1000 (citations omitted); see also Waddleton, 750 F. App'x at 255
( "Injury alone does not equate to excessive force. 1')      •




       2.      The Need for Force
       Williams acknowledges that Sergeant Carter used force after he
disobeyed repeated orders to turn over a cell phone, which is a

prohibited item in a correctional facility. 76            As noted above,

Williams explains that he ignored Sergeant Carter's orders to
surrender the cell phone because he had been instructed to conduct
a master cleanse by erasing its data if he were caught with it. 77
Nevertheless,       Williams argues that the force was unnecessary
because Sergeant Carter should have continued to "negotiate' whi    1




waiting for other officers to arrive. 78


       76
            Plaintiff's MDS, Docket Entry No. 7, p. 1.


       78   Plaintiff's MSJ, Docket Entry No. 37, p. 7.
                                     26-
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     Courts have recognized that some degree of force is justified

"'in a good-faith effort to maintain or restore discipline' where
a prisoner refuses to cooperate with legitimate directives of an
official."   Velazguez v. Baker, Civil Action No. 5:20-CV-078-BQ,
2021 WL 812505, at *5 (N.D. Tex. Jan. 28, 2021) (citing            Gonzales
v. Rowe, No. 5:20-CV-052-BQ, 2020 WL 4811005, at *3 (N.D. Tex.
July 27, 2020) (finding "some degree of force" by officers was
justified where inmate "refus[ed] to comply with the Officers'
repeated orders to lie on the cell's floor" because "[d]isobeying
orders poses a threat to the order and security of an institution")
(citing   Minix   v.   Blevins,   Civil   Action   No.   6:06cv306,    2007
WL 1217883, at *24 (E.D. Tex. Apr. 23, 2007)); Rios v. McBain,
No. Civ.A. 504CV84, 2005 WL 1026192, at *7 (E.D. Tex. Apr. 28,
2005) (noting that "open defiance of orders plainly poses a threat
to the security of the institution, regardless of whether or not
the defiance is emanating from within a locked cell"), R.              &    R.
adopted by 2005 WL 1026192 (E.D. Tex. Apr. 28, 2005)).
     Preserving institutional order and discipline is a central
objective of sound prison administration.             Bell v. Wolfish, 99
S. Ct. 1861, 1878 (1979) ("[M]aintaining institutional security and
preserving internal order and discipline are essential goals that
may require limitation or retraction of the retained constitutional
rights of both convicted prisoners and pretrial detainees.").               In
recognition of the fact that force may be necessary to preserve
order in the face of a prison disruption, the central inquiry when


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considering an Eighth Amendment excessive-force claim is whether

force was "applied in a good-faith effort to maintain or restore
discipline,       or   maliciously   and     sadistically   to    cause   harm."
Wilkins, 130 S. Ct. at 1178 (quoting Hudson, 112 S. Ct. at 999.).
        By his own admission the use of force was• prompted by
Williams's refusal to obey repeated orders while tampering with

evidence that was a serious breach of security.                   Viewed in the

light most favorable to Williams, the record shows that the force
was employed to gain Williams's compliance as part of a good-faith
     fort to restore order, rather than by a subjective intent to
inflict harm.       See Jones v. Anderson, 721 F. App'x 333, 335-36 (5th
Cir. 2018) (per curiam) (concluding that a correctional officer did
not employ excessive force when subduing an inmate who "repeatedly
refused to obey         [the officer's]     orders and acted agitated and
argumentative"); Hamer v. Jones, 364 F. App'x 119, 124 (5th Cir.
2010)        (per curiam)   (finding no excessive force where it was
undisputed that the plaintiff created a disturbance and that the
force used against him was in response to that disturbance); Davis
v.    Cannon,    91 F. App'x 327,     329     (5th Cir.   2004)    (per curiam)
(finding no Eighth Amendment violation for excessive force where a
prisoner was sprayed with chemical agent and forcefully thrown on
the ground after "repeated refusal to obey" an officer's orders).

        3.     Relationship Between the Need for Force and the Amount
        "The amount of force that is constitutionally permissible
             must be judged by the context in which that force is

                                      -28-
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deployed."     Baldwin v. Stalder, 137 F.3d 836, 840 (5th Cir. 1998)

(quoting Ikerd v. Blair,        101 F.3d 430,    434   (5th Cir. 1996)).
"Whether the prison disturbance is a riot or a lesser disruption,
corrections officers must balance the need 'to maintain or restore
discipline 1 through force against the        sk of injury to inmates.      11




Hudson, 112 S. Ct. at 998 99.      When reviewing this factor, a court
"must keep in mind that prison officials 'may have had to act
quickly and decisively'" when confronted by an unruly inmate.
Baldwin, 137 F.3d at 840 (quoting Valencia, 981 F.2d at 1446).
     As discussed further above, Williams admits that Sergeant
Carter used force after he disobeyed repeated orders and actively
resisted efforts to recover the cell phone, which was a prohibited
item. Although Williams alleges that he was repeatedly punched in
the eye, the medical records do not substantiate this claim. Thus,
Williams does not show that the force used by Sergeant Carter was
unrelated to the need or that such force was effected in a manner
that was disproportionate to that need.

     4.      The Threat Reasonably Perceived by Sergeant Carter
     Although Williams admits that he disobeyed several orders
while deleting data from the cell phone, he argues that he did not
pose a threat because he did not make "actual physical contact"
with Sergeant Carter.79    It     undisputed, however, that the orders
in question concerned Williams's refusal to surrender possession of


     79
          Plaintiff's MSJ, Docket Entry No. 37, p. 7.
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a prohibited item.        Sergeant Carter notes that the danger of cell

phones in prison is "significant" because inmates can use them to
plan an escape, engage in illegal gang activity, arrange violence
against correctional staff and other persons outside the prison,
and harass their victims.80         In support, he cites an incident in
which a Texas death row inmate made a threatening call to a state
senator using a smuggled cell phone. 81        In recognition of the risk
posed by cell phones to institutional safety and security, it is a
felony to possess one in a Texas prison.82             See Tex. Penal Code
§   38.ll(j).



       80
            Defendant' s MSJ, Docket Entry No. 28, p. 1 o .
      Id. at 11 (citing an incident that was reported in the media
       81

and described in Tabler v. Stephens, 588 F. App'x 297, 300 (5th
Cir. 2014), in which a death row inmate used a smuggled cell phone
to call Senator John Whitmire and make threats about his family).
       The security threat posed by smuggled cell phones in prison
       82

has been well documented.       Wise, Lindsay, Cell phones are the
new file in a cake after device helped inmate escape, Houston
Chronicle Al, 2011 WLNR 5312345 (March 17, 2011) (reporting that
791 phones were found in Texas state prisons in 2010 and that one
inmate used a smuggled phone to successfully arrange an escape).
As a result of the threat to institutional safety and security,
cell phones are prohibited in all state and federal prisons in the
United States. See Severson, Kim and Brown, Robbie, Prisoner's
most lethal weapon: smart phone, Houston Chronicle A4, 2011 WLNR
113668 (Jan. 3, 2011). It is also a federal offense to possess a
phone or wireless device in a federal prison. See        Due to the
magnitude of this problem, TDCJ employs electronic technology to
block calls and track contraband phones. See Texas prisons working
to eliminate cell phone use, Corpus Christi-Caller Times, 2013 WLNR
33693122 (March 15, 2013) (outlining measures to block the use of
cell phones, which have been used "to plan and coordinate escapes,
run illicit businesses and threaten and harass crime victims or
authorities").
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          The Fifth Circuit has recognized that \\TDCJ clearly has 'a

compelling interest in staunching the flow of contraband into and
within its facilities.'" Ali v. Stephens, 822 F.3d 776, 786 (5th
Cir. 2016) (quoting Holt v. Hobbs, 135 S. Ct. 853, 863 (2015)).
Given the importance of safety and security in the prison setting,
any reasonable officer in Sergeant Carter's position would have'·
recognized the threat posed by Williams' s possession of a cell
phone and by his attempt to erase data to prevent officials from
determining how he obtained the prohibited item while in prison.
Williams makes no         fort to dispute that possessing a cell phone in
prison posed a threat to safety and security.                As a result, this
factor      favors   a     finding     that    the   force   employed   was    a
constitutionally         permissible    effort to       maintain institutional
security and not with subjective intent to harm.

     5.      Ef.forts to Temper the Use of Force
     Williams argues that Sergeant Carter vio1ated his rights
because he did not employ measures outlined in the TDCJ Use of
Force Plan by waiting for other officers to arrive or trying to

negotiate before using force.83           However, Williams does not point
to a particular provision within this policy or any other authority
that states that a correctional officer must stand idly by while an
inmate     commits   a     felony      offense   that    poses .a   threat    to
institutional security and then do nothing                   while the inmate


     83
          Plaintiff's MSJ, Docket Entry No. 37, pp. 6, 7.
                                        -31-
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proceeds      to   tamper   with    evidence    of     that   offense.   More
importantly,       Williams acknowledges that Sergeant Carter issued
multiple orders that were disobeyed and that he did summon the
assistance of other officers before employing force. 84 That the use
of force became necessary before those officers arrived does not

negate the fact that efforts to temper or avoid the use of force
were undertaken.       Other factors, including the limited extent of
the injury that Williams sustained, also support an inference that
Sergeant Carter tempered the severity of his response.
     Considering all of the evidence and inferences in Williams's
favor as required on summary judgment, a review of the Hudson
factors indicates that .Sergeant Carter did not use force with
subjective intent to cause harm,             but rather that he did so to
restore order and discipline in response to a significant threat to
institutional security.            Even assuming that a constitutional
violation occurred, the record does not support a finding that
Sergeant Carter's conduct was objectively unreasonable as a matter
of law.     See Easter v. Powell, 467 F.3d 459, 462 (5th Cir. 2006)
(per curiam) (citing Salas v. Carpenter, 980 F.2d 299, 310 (5th

Cir. 1992) (\\Even if an official's conduct violates a constitu­

tional right, he is entitled to qualified immunity if the conduct
was objectively reasonable.n).         Because Williams does not raise a
genuine issue of        material fact        showing   that force was used


     84
          Plaintiff's MDS, Docket Entry No. 7, p. 1.
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excessively in violation, of the Eighth Amendment or that Sergeant

Carter's conduct violated a constitutional right, he has not met
his ,burden to overcome Sergeant Carter's entitlement to qualified
immunity.    Therefore, Williams's motion for summary judgment will

be denied and Sergeant Carter's motion for summary judgment will be
granted.


                       VI.   Conclusion and Order

     Based on the foregoing, the court ORDERS as follows:

     1.     Defendant's Motion for Summary Judgment filed by
            Sergeant Gregory Carter (Docket Entry No. 28) is
            GRANTED.

     2.     All of the motions filed by Plaintiff Shawn Lee
            Williams (Docket Entry Nos. 32, 36, 37, 39, 40, 42)
            are DENIED.

     3.     This civil action will be dismissed with prejudice.

     The Clerk is directed to provide a copy of this Memorandum

Opinion and Order to the parties of record.

     SIGNED at Houston, Texas, on this 17th day of September, 2021.




                                                 SIM LAKE
                                   SENIOR UNITED STATES DISTRICT JUDGE




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